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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
   10
   11    MACOM TECHNOLOGY                           Case No. CV16-02859 CAS (PLAx)
         SOLUTIONS HOLDINGS, INC., et al
   12                                               [PROPOSED] ORDER ON JOINT
                            Plaintiffs,             STIPULATION OF DISMISSAL
   13
               v.
   14
         INFINEON TECHNOLOGIES AG, et
   15    al,
   16
                            Defendants.
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   19         The Court, having considered the parties’ Joint Stipulation of Dismissal,
   20   hereby orders that all claims and counterclaims in the above-captioned litigation are
   21   hereby dismissed with prejudice pursuant to Federal Rule of Civil Procedure
   22   41(a)(1)(A)(ii).
   23         SO ORDERED.
   24
   25    DATED: October 31, 2018
   26                                        HON. CHRISTINA SNYDER
                                             UNITED STATES JUDGE
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